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                                 UNITED STATES DISTRICT COURT
                                     DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA
                                                                        No. 21-cr-399 (RDM)
                 Plaintiff,
    v.

    ROMAN STERLINGOV

                 Defendant.

NOTICE REGARDING CIPHERTRACE EXPERT TESTIMONY AND REVIEW
            OF LATEST CHAINALYSIS PRODUCTION

         Defense Counsel for Defendant Roman Sterlingov wishes to inform the Court that they

were contacted by Ciphertrace’s counsel, A. Joseph Jay III, late in the morning of September 22,

20231. In that communication, Mr. Jay informed Defense Counsel that upon further consultation

with his client, Ciphertrace, neither Ms. Still nor Ciphertrice are willing and able to review the

latest discovery produced by Chainalysis that was the subject of yesterday morning’s hearing.


         Mr. Jay confirmed, however, that Ciphertrace expert, Ms. Jonelle Still, is still available to

testify based on her review of the discovery and her expert report produced to the Court. He

further confirmed to Defense Counsel that Ms. Still will be available to testify on any day and

time that the Court may find convenient.


         Finally, Mr. Jay confirmed that Ciphertrace is taking steps to immediately have all

persons, including Ms. Still and those who assisted her or reviewed discovery in this matter, to




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  The Court will recall that Mr. Jay had promised the Court during the hearing the prior day that he would confirm
with Defense Counsel whether Ms. Still and/or Ciphertrace would be able to review the highly sensitive heuristic
information produced by Chainalysis by this morning, September 22, 2023.

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personally sign the acknowledgement to the protective order in this case (Dkt. No. 18) and will

promptly provide undersigned counsel with copies of such acknowledgements.




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Dated: September 22, 2023
Alexandria, Virginia


                                  Respectfully submitted,


                                  /s/ Michael Hassard
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                                  Counsel for Defendant Roman Sterlingov




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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 22nd day of September 2023, the forgoing document was filed

with the Clerk of Court using the CM/ECF System, and sent by email to the attorneys for the

Government listed below:

                                                                         s/ Michael Hassard

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